                                                                                 Jose A. Castro
                                                                                 710 N. Plankinton Avenue
                                                                                 Suite 500
                                                                                 Milwaukee, WI 53203
                                                                                 Direct: (414) 290-7566
                                                                                 Email: jcastro@crivellocarlson.com




           April 29, 2021


           Via Efiling
           Hon. William Griesbach
           US District Court Eastern District of Wisconsin
           125 South Jefferson Street
           Courtroom - 201
           Chambers - 203
           Green Bay, WI 54305

           Re:    Estate of Jonathon Tubby, et al. v. Brown County, et al.
                  Eastern District of Wisconsin Case No. 19-CV-137
                  Our File No. 0100-1900139


           Dear Judge Griesbach:

           Please take notice that I, Attorney Jose A. Castro, will no longer be with Crivello Carlson S.C.
           effective April 29, 2021, and as such request to withdraw from this case. Todd J. Delain, Heidi
           Michel, Brown County, Joseph P. Mleziva, Nathan K. Winisterfer, Thomas Zeigle, and Bradley
           A. Dernbach will continue to be represented by Benjamin A. Sparks and Samuel C. Hall, Jr. We
           respectfully request that service lists be updated to reflect this change.

           Should you have any questions regarding this matter, please do not hesitate to contact Benjamin
           A. Sparks or Samuel C. Hall, Jr.

           Thank you.


           Very truly yours,

           /s/ Jose A. Castro

           JOSE A. CASTRO

           cc:    All Counsel of Record (via electronic file)




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                   Case 1:19-cv-00137-WCG            DELAFIELD,
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                                                                   Page 1 of 1WI Document
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